 Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 1 of 16 PageID# 5

Cj$. CT Corporation                                                              Service off Process
                                                                                 Transmittal
                                                                                 11/14/2012
                                                                                 CT Log Number 521608921
   TOi        Betty Puryear
              Integrated Electrical Services, Inc.
              5433 Westheimer, Suite 500
              Houston, TX 77056

    RE:       Process Served In Texas

    FORi      INTEGRATED ELECTRICAL SERVICES, INC. {Domestic State: DE)




    ENCLOSED ARE COPIES OF LEOAL PROCESS RECEIVED BY THE STATUTORY AOENT OF THE ABOVE COMPANY AS FOLLOWSi

   TITLE OP ACTION!                       Kent Davis, Pltf. vs. Integrated Electrical Services, Inc., Dft.
    DOCUMENTS) SERVED!                    Summons, Complaint, First set of Interrogatories, Certificate of Service
    COURT/AGENCY!                         Commonwealth of Virginia Portsmouth Circuit Court Civil Division, VA
                                          Case #7400-1200234100
    NATURE OF ACTION:                     Employee Litigation - Violation of the Uniformed Services Employment and
                                          Reemployment Right Act of 1994, 38 U.S.C.
    ON WHOM PROCESS WAS SBRVEBl           C T Corporation System, Dallas, TX
    DATE AND HOUR OP SERVICE!             By Process Server on 11 /14/2012 at 14:30
    JURISDICTION SERVED I                 Texas

    APPEARANCE OR ANSWER DUBi             Within 21 days after service
    ATTORNEY(S) / SENDERfSp               Courtney C. Williams
                                          Bertini O'Donnell Et Hammer, PC
                                          999 Waterside Drive
                                          Suite 1010
                                          Norflok, VA 23510
                                          757-670-3868

    ACTION ITEMS!                         CT has retained the current log, Retain Date: 11/14/2012, Expected Purge Date:
                                          11/19/2012
                                           Image SOP
                                          Email Notification, Sarah Kerrigan sarah.kerrigan@1es-co.com
                                          Email Notification, Betty Puryear betty.puryeanSies-co.com
                                          Email Notification, Gail Makode gail.makode®ies-co.com
    SIONEDi                                C T Corporation System
    PERs                                  Amber Carrouth
    ADDRESS!                              350 North St Paul Street
                                          Suite 2900
                                           Dallas, TX 75201
    TELEPHONEl                             214-932-3601




                                                                                  Page 1 of 1 / SK
                                                                                  Information displayed on this transmittal is for CT Corporation's
                                                                                  record keeping purposes only and Is provided to the recipient for
                                                                                  quick reference This information does not constitute n legal
                                                                                  opinion as to the nature of action, the amount of damages, the
                                                                                  answer data, or any information contained In the documents
                                                                                  themselves. Recipient ts responsible for Interpreting said
                                                                                  documents and for taking appropriate action. Signatures on
                                                                                  certified mail receipts confirm receipt of package only, not
                                                                                  contents.
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                               COMMONWEALTH OF VIRGINIA




                                      PORTSMOUTH CIRCUIT COURT
                                              Civil Division
                                          1345 COURT STREET
                                           PORTSMOUTH VA
                                             (757) 393-8671
                                                Summons



        To- INTEGRATED ELECTRICAL SERVICES                              Case No. 740CL12002341-00
             C/O CT CORPORATION SYSTEM
             REGISTERED AGENT
             4701 COX ROAD, SUITE 301
             GLEN ALLEN VA 23060


        The party upon whom this summons and the attached complaint are served is hereby notified
        that unless within 21 days after such service, response is made by filing in the clerk's office
        of this court a pleading in writing, in proper legal form, the allegations and charges may be
        taken as admitted and the court may enter an order, judgment, or decree against such party
        either by default or after hearing evidence.
        Appearance in person is not required by this summons.

        Done in the name of the Commonwealth ofVirginia onjftiday, October 12. 2012

        Clerk of Court: CYNTHIA P. MORRISON




   Instructions:




Hearing Official:




                    BERTINI, LISA A
Attorney's name:                                                             SERVED BY
                    670-3868
                                                                      DWSKELL SERVICES, INC.
                                                                           757-961-6961

                                                                                                      Cr
Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 3 of 16 PageID# 7




                              m THE CIRCUIT COURT FOR
                               THE CITY OF PORTSMOUTH



   KENT DAVIS,
                                                                Case No.
           Plaintiff,
                                                                COMPLAINT
   v.                                                           (Jury Trial Demanded)

   INTEGRATED ELECTRICAL SERVICES,
                                         INC.

           Defendant



        SERVE:     INTEGRATED ELECTRICAL SERVICES, INC.
                   CT CORPORATION SYSTEM, REGISTERED AGENT
                  350 N. St Paul St STE. 2900
                   Dallas, TX 75201


                                          COMPLAINT


           COMES NOW plaintiff KENT DAVIS ("Davis"), by and through counsel, and

   moves this court for entry of judgment in his favor, and against defendant

   INTEGRATED ELECTRICAL SERVICES ("IES") and in support of such motion,
   alleges and avers as follows:


                                    NATURE OF ACTION


           1.    Davis brings this civil action for declaratory, injunctive, and monetary relief
   for JES's violation of the Uniformed Services Employment and Reemployment Rights
   act of 1994, 38 U.S.C. § 4301 etseg. ("USERRA").


                                           PARTIES

           2.    Davis resides in Virginia Beach, Virginia.
        Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 4 of 16 PageID# 8
•   V




                    3.    IES is doing business in the City of Portsmouth, Virginia.


                                                JURISDICTION



                    4.    This Court has jurisdiction over the subject matter of this action pursuant to

            38 U.S.C. § 4323(b).

                                                     VENUE



                    5.    IES presently, and regularly, conducts affairs and business activities in the

            City of Portsmouth, Virginia.

                    6.    The causes of action alleged in this action arose in the City of Portsmouth,

            Virginia.



                                             CLAIM FOR RELIEF


                    7.    In August of 1999, Davis began employment with IES.

                    8.    During Davis's employment with IES, he served in various roles, such as

            the Regional SafetyDirector and Regional Human Resources Manager.

                    9.    The final position held by Daviswas that of the Regional Human Resources

            Manager for the Northeast

                    10.   Davis serves in the NAVY.

                    11. In June of 2009, Mr. Davis was recalled by the NAVY to serve,

                    12. In February 2012, Davis informed IES through Jennifer Evans, John

            Werner, Bob Warwick, and Sandy Lawrence of his March 2012 return to his position as

            Regional Human Resources Manager for the Northeast.

                    13. Davis was discharged from the NAVY and returned to work at IES in
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   March of 2012.

            14. On March 2, 2012, Davis was informed by IES that he was to return to his

   position as Regional Human Resources Manager on March 5,2012.

            15. On March 5, 2012, Davis arrived at IES and his "replacement", Melissa

   Singleton, was sitting at his former desk and was acting as Regional Human Resources

   Manager for the Northeast.

            16. Mr. Davis's replacement was never informed that Davis was returning to

   his position creating embarrassment for Davis.

            17. On the afternoon of March 6, 2012, Davis was offered the job of Human

    Resources Manager for the South by IES.

            18. The position Davis was offered by IES is in Texas and Alabama, not

   Virginia.

            19. The Human Resources Manager for the Northeast, which is located in

    Virginia, continues to be held by Davis's replacement

            20.   Bob Callahan, former Vice President of Human Resources with IES later

    informed Davis that Jennifer Davis planned to offer him severance rather than return him

    to his former position within IES.

            21. Human Resources Manager for the Northeast is a job position wherein the

    individual holding position remains in Virginia full-time.

            22. Human Resources Manager for the South is a job position markedly

    different from the Human Resources Manager for the Northeast. The South position

    involves working at different locations across the country and extensive traveling as this

    position is responsible for hiring and other daily duties.
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                23. Davis had no duty to accept this new job offer. Therefore, Davis is no

        longer employed with IES because they offered him a job with markedly different duties

        and location and he did not accept.

                24. IES did not place Davis in the same position he held prior to being recalled

        by the NAVY.

                25. IES violated USERRA, 38 U.S.C. §§4311,4312, and 4313, by, among other

        things, failing to properly reemploy Davis to his former position upon his return from

        military service.

                26. Because of IES's violation of 38 U.S.C. §§4311, 4312, and 4313, Davis

        suffered and continues to suffer a substantial loss of earnings and other benefits.

                27. The violation of EES of its obligations under USERRA was willful.

                                              PRAYER FOR RELIEF



                WHEREFORE, plaintiff KENT DAVIS prays that this Court enter judgment in

        his favor, and against defendant IES, on the above grounds, and further:

                 1.   Declare that IES's refusal to properly reemploy Davis was unlawful and in

        violation of USERRA;

                 2.   Order IES to comply fully with the provisions of USERRA by paying Davis

        for his loss of earnings and other benefits suffered by reason of IES's failure and refusal

        to comply with provisions of USERRA;

                 3.   Award Davis prejudgment interest on the amount of lost earnings and other

        benefits found due;

                 4.   Award Davis liquidated damages authorized under USERRA;

                 5.   Enjoin IES from any action in violation ofUSERRA;

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Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 7 of 16 PageID# 11




             6.   Award Davis attorneys fees and costs incurred in this action; and

             7.   Grant Davis such additional relief as may be deemed just and proper,

   together with costs and disbursements in this action.



    Dated:   October 1,2012                      KENT DAVIS




                                                 Of Counsel
                                                 Lisa A. Bertini (VSB #29660)
                                                 lbertini@bohlaw.net
                                                 Courtney C. Williams (VSB # 81083)
                                                 cwilliams@bohlaw.net
                                                 Bertini O'Donnell & Hammer, PC
                                                 999 Waterside Drive, Suite 1010
                                                 Norfolk, Virginia 23510
                                                 (757) 670-3868 Telephone
                                                 (757) 670-3865 Facsimile

                                                 Counselfor Kent Davis
Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 8 of 16 PageID# 12




                                IN THE CIRCUIT COURT FOR

                                THE CITY OF PORTSMOUTH




    KENT DAVIS,
                                                                 Case No.
            Plaintiff,
                                                                 COMPLAINT
    v.                                                           (Jury Trial Demanded)

    INTEGRATED ELECTRICAL SERVICES,
                                           INC.


            Defendant.




         PLAINTIFFS FIRST SET OF INTERROGATORIES AND REQUESTS FOR
                         PRODUCTION OF DOCUMENTS TO PLAINTIFF

            Plaintiff, Kent Davis, by counsel, propounds the following Interrogatories,

    Requests for Production of Documents, and Requests for Admission on the Defendant,

    Integrated Electrical Services, Inc. ("IES").

            These interrogatories and request for production of documents are continuing in

    character so as to require you to file supplemental answers if you obtain further

    information before trial.

                                     Instructions/Definitions

            (A)     "Person" shall mean the plural as well as the singular and shall include

    any nature of person, corporation, partnership,joint venture, association, government

    agency, and every other form of entity cognizable at law.

            (B)     "Identity" and "identify" when used in reference to an individualperson

    means to state his or her full name, relationship to you, present or last known home and
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   business address, home and business telephone numbers, and the present or last known

   position and business affiliation of such person.

           (C)    Unless otherwise indicated, these interrogatories refer to the time, place

   and circumstances of the occurrence mentioned or complained of in the Complaint.

           (D)    Where knowledge or information in possession of a party is requested,

   such request includes knowledge of the party's agent/or representative.

           (E)    In answering these interrogatories furnish all information that is available

   to or obtainable by you upon reasonable inquiry, including but not limited to, information

   available to or obtainable upon reasonable inquiry by your attorneys, agents

   representatives or others in any way acting in your behalf.

           (F)    If you cannot answer each interrogatory in full after exercising due

   diligence to secure the information required to answer, so state, and answer to the extent

   possible, specifying die reasons for your inability to answer the remainder in full.

           (G)     "Document(s)" mean any written, recorded or graphic matter however

   produced or reproduced including, but not limited to, statement, reports, records, lists,

   memoranda, telefaxes,      electronic mail, correspondence,       schedules, photographs,

   videotapes, sound recordings, microfilm, microfiche, electronic data stored on cellular

   telephones, electronic mail messages, text messages on cellular phones or other similar

   electronic devices, electronic information stored on tablets, files and information stored

    in computers or other data or word processing equipment.

           (H)     The pronoun "you" or "your" includes the plaintiff and his agents or

    representatives unless stated otherwise.

           In answering these interrogatories furnish all information that is available to or

    obtainable by you upon reasonable inquiry, including but not limited to, information
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    available to or obtainable upon reasonable inquiry by your attorneys, agents

    representatives or others in any way acting in your behalf.

           If you cannot answer each interrogatory in full after exercising due diligence to

    secure the information required to answer, so state, and answer to the extent possible,

    specifying the reasons for your inability to answer the remainder in full.

                                        INTERROGATORIES


            1.     Identify all persons responding to these Interrogatories, including the

    identity of any person providing information to assist in your response to these

    Interrogatories.     The answer should include the title of each individual, their role in

    preparing the Interrogatory responses, and should identify all documents used to prepare

    responses to these Interrogatories.

            ANSWER;




           2.          Identify each person known to you to have knowledge of facts relating to

    any allegation contained within or relating to Plaintiffs Complaint, and for each person,

    state the subject matter known to that person. Include in your response a description of

    the substance of their knowledge, a statement of whether you presently expect to call

    them as a witness at trial, and a description of all documents which support, tend to

    support, or tend to refute your response to this Interrogatory.

            ANSWER:
       Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 11 of 16 PageID# 15



                  3.      Identify each document or other tangible thing,that you intend to use to

           support any claim asserted in your Answer, in oppositionto any defense ot affirmative

           defense asserted by you, utilized, relied upon, or referred to in formulating your answers

           to these Interrogatories or that you otherwise contend supports your claim or relates to

           any allegation asserted in your Complaint. Include in your answer a brief description of

           what you believe each document or thing proves, identify all documents which support,

           tend to support, or tend to refute your response to this Interrogatory, and identify the

           persons having possession, control or custody of the document or thing.

                  ANSWER:




                  4.      Identify each communication Defendant, any employee or agent of

           Defendant had with any employee, former employee, or agent of Defendant concerning

           Mr. Kent's allegations, including the identity of all parties to the communication, the date

           of the communication, the content of each communication, and whether it was oral or

           written. Identify any and all documents which refer to, reflect, or record the above.

                   ANSWER:




                   5.      If Defendant has made any admissions against its interest relating to the

           issues set forth in the pleadings in this matter, identify all such communications by date

           and by whom they were made, indicate whether or not said communications were oral or
:5s/
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    written, and identify any person or entity to whom each communication was made, and

    all persons present when said admission was allegedly made.

           ANSWER:




           6.      Identify any person other than counsel, who has provided you with a

    written or recorded statement or opinion of any kind which relates to any allegation,

    claim or defense raised in or by Plaintiffs Complaint and Defendant's Answer, and for

    each such person, provide the name, address and telephone number, describe the

    substance of such statement or opinion, the date you obtained such statement or opinion,

    the person who conducted the interview or received the statement or opinion and identify

    any document which records, reflects or relates to the statement or opinion.

           A^WRR:




           7.      Identify all experts you intend to call to testify at trial, and describe in

    detail the subject matter of each such expert's anticipated testimony, the facts and

    opinions to which each expert is expected to testify, and the grounds for each opinion,

    educational background and bibliography of books and other works, which each expert

    regards as authoritative on the subject on which the expert is expected to testify, and

    attach to your answers any written report made by the expert concerning these facts and

    opinions.

           ANSWER:
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           8.      State the dates of Mr. Kent's employment, his job duties and the

    applicable dates for each, including any job descriptions that were given to Mr. Kent.

           ANSWER:




           9.      Describe, exactly and in detail, including any supporting information for

    the reason that Mr. Kent was not offered his same position upon his return to IES in

    March of 2012.

           ANSWER:




           10.     Describe, exactly and in detail, including any supporting information for

    the reason that Mr. Kent was offered a different position from the position he previously

    held upon his return to IES in March of 2012.

           ANSWER:




                          REQUEST FOR PRODUCTION OF DOCUMENTS




            1.     Produce Plaintiffs entire personnel file.

            RESPONSE:




            2.       Produce all documents reflecting, referring or relating in any way to

    Plaintiffs recall by the NAVY.

             RESPONSE:
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                 3.      Produce all documents reflecting, referring or relatmg in any way to

         Plaintiff's March 2012 return to IES.

                  RESPONSE:




                 4.      Produce all documents reflecting, referring or relating in any way to the

         Plaintiff.

                  RESPONSE:




                 5.       Produce all correspondence, whether written or oral, that you have had

         with any other individual or group, excluding attorneys, relatmg in any way to this

          lawsuit or the subject matter therein.

                  RESPONSE:


                 6.       Produce all documents reflecting, referring, supportmg, refuting, and

          relating to any and all contentions made in Plaintiffs Complaint.

                      RESPONSE:




                 7.       Produce all documents reflecting, referring, supporting, and relating to

          your communication with any current or former employee of EES regarding or relating to

          Kent Davis.


                      RESPONSE:




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Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 15 of 16 PageID# 19



    Dated.   October 1,2012              KENT DAVIS, plaintiff


                                                  /s/
                                         Of Counsel
                                         Lisa A. Bertini (VSB #29660)
                                         lbertini@bohlaw.net
                                         Courtney Williams (VSB # 81083)
                                         cwilliams@bohlaw.net
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                                         Norfolk, Virginia 23510
                                         (757) 670-3868 Telephone
                                         (757) 670-3865 Facsimile

                                         Counsel for Kent Davis
Case 2:12-cv-00663-HCM-LRL Document 1-1 Filed 12/05/12 Page 16 of 16 PageID# 20




                                CERTIFICATE OF SERVICE
                                        71
            Ihereby certify that on the J    day of October, 2012,1 mailed a true copy of the
       foregoing discovery requests to the Clerk of the Portsmouth Circuit Court for filing and
       service by Driskell Service on the defendant at the following address:
                           Integrated Electrical Service
                           c/o    CT Corporation System, Registered Agent
                                  4701 Cox Road, Suite 301
                                  Glen Allen, VA 23060




                                             Courtney C. Williams
